                 Case: 3:20-cr-00010-jdp Document #: 69 Filed: 08/16/21 Page 1 of 1
                                  COURTROOM MINUTES
                               ARRAIGNMENT/PLEA HEARING
     8/16/2021
DATE:_____________          Monday
                      DAY:_______________                   1:05 p.m.
                                               START TIME:_____________            1:35 p.m.
                                                                        END TIME:_______________
             JDP
JUDGE/MAG.:____________________              rks
                                     CLERK:____________________            FTR
                                                                REPORTER:____________________
PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
              20-cr-10-jdp
CASE NUMBER:_________________                             David M. Kruchten
                                      CASE NAME: USA v. ________________________________________
APPEARANCES:
                  Elizabeth Altman
ASST. U.S. ATTY.:_________________________                           Joseph Bugni
                                                   DEFENDANT ATTY.:_____________________________
                  Laura A. Przybylinski Finn
                 _________________________                           _____________________________
                                                   DEFENDANT PRESENT: YES         NO
OFFENSE INFORMATION:
                         1;2
MAXIMUM PENALTY: CT(S) _______________;   20;30
                                        _______________                        250,000
                                                        YR(S) IMPRISONMENT; $________________ FINE;
 3;LIFE
_________ YEAR(S) SUPERVISED RELEASE;     100;5000
                                        $_____________  SPECIAL ASSESSMENT;            RESTITUTION.
                   39
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                     DEFENDANT SWORN
        NOT GUILTY                 PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                 DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________         TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________         MOTIONS DUE:____________________
   FPTC:             _________________________        FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
                            9/17/2021
   PRESENTENCE REPORT DUE:________________                             10/1/2021
                                                      OBJECTIONS DUE:_______________
                 10/22/2021
   SENTENCING :_______________     09:00 a.m.
                               at ____________
RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
NOTES:
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                       0'30"
                                                                    TOTAL COURT TIME:__________
